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Bi'ZB:ZOt'/` 1199 Al\h
Chris Daruel Di€,tr\i';t Clerk Harris Coun!y

v Envelope ‘\Io 19081286
2017'57009 / COU"- 157
(.`/\USI"`, i\'l)__

(f`I.Al_iDF, B}iN("KI-",NS']`TZII\'. § IN 'l`l ll". I`)IS'l'R|("|` (`()l.’R`i` ()I"
§
Plainti[`£ §
§
V_\_ § H/\RRIS (`()UN'I`Y. 'I`l_`iX/\S
§
(.`ENTR/\L MU'I`U.»'\L lNSUR/\N(.`l". §
(_`()MPANY. §
§ ____ _lL"l`)|ClAl. l)IS"I`Rl("I`
l)cfcndunt. §

PLAINTIFI"`S ORI(,`INAL PET]T]()N
“l`(_) THE H()N()RABLE .il.?[_)(,ili (.)F S/\il') (`( )L.’R'l`:
Cluudc Bc.nckcnslcin t"Mr. Bcnci\cn\lcin"t. P!:iintil`l` l'lcruin_ |`i|c.\ this ()riginz\§ Pctitit)n
against Dcfcndunt (`cnlr;d Mutuzl| insurance (_`umpun>» t"(`cnlru| Mutuul".l ;nld. in support t)t` his
causes r)f` action. would respectftu l~hO\/\/ thc (_`nm't the following

l

THE PARTIF,S
i. (_`iziudc i.icnckcnstc.in is ;1 ']`Cxel~ resident who rc.\id¢:\' in l|;n'ri.\ (,_`c')unt_\". 'l`c\;is.
2. Ccntr'.ll Mutua\| is an insurance company doing businch in the Slutc ¢’)[`Tc\;i\ which

may bc served through its registered zigcnt l`nr service nt` prnccs.\ in the Stutc nl"Tu.\:is. (`,`c)rp<)rzltc
(:`rcntions thwork. hic.. viii certified mail :lt 2425 stl lump S.. Stt‘. 2(}(\` l~»|mi<tt)iz. TX
77027-42()8.

ll.
l)lS(`()VERY

3. This case i\' intendcd 10 bc governed by [)isu)\'cr)-' l,cvcl 2_

 

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lll.
Cl,AI`:\'I FOR REI,IEI"

4. The damages s<_)ught are within the jurisdictional limits ot` this court. l)laintil`t`
eun‘ently seeks monetary rcliet` over .`l§lt`)t).()()(), hut not more than $2()()1)()0. including damages ol`
any kind. penalties. costs. expenses. pre-judgment interest. and attorneys l`ees.

lV.
JL`=RlSl)l(."l`l()N ANl) VENUE

5. This' court has subject tnatter_iurist'lielii)n o|`this cause ot` action because it involves
an amount in controversyl in excess ot`the minimum jurisdictional limits ol`this (.`ourt. No diversity
ot` eitiLeiisliii) exists in this nuttter.

(), \/enue is proper in Harris (_.`ounty because all or a st.ibstautial part o|' the events or
omissions giving rise to the claim occurred in Harris (`ounty. 'l`tix. (_`lv. I"R \t` & Rt`t\t (`ot)t-; §
lS.(')()Z(a}t' l _). ln particu|ar. the loss at issue occurred iu llarris (`ouut_v.

V.
I*`A(."I`UAL BACK(}R()UNI`)

7. Mr. Benel\'enstein isa named insured under a property inst,n'an'ce policy issued by
(`,`,entral Muu.ial.

8. ()n or about April l7. '_‘()l'/ a tire caused majordamage to Mr. liiencl\'enstein`s house
and other property. Mr. Bencl\ensteiu suhs'cqt.tently I`iled a claim on his insurance policy.

‘)_ Del`endaut improperly denied and/or underpaid the claim

lU, 'l`he adjuster assigned to the claim conducted a substandard investigation and
inspection of the property. prepai'e<"| a report that laich to ineliu'|e all of` the dan'iages that were
observed during the inspection. and undervalued the damages observed during the inspection

l l. This unreast')uablt;‘ investigation led to the iimlei'pa_\nieiit o|` |’laintil`t"s claim

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12. Morcover. (_`cntral Mutual performed an outcome-oricntet't investigation of
Plixiitlil`|"s claim. which resulted in a biased. unfair and inequita,lble evalt_tation of l"laintifl"s losses
on the propert_v.

V].
(,`A USES ()I" A("l`l()l\

13. l~`,ach ol`thc t`<'ircgoing paragraphs is incorporated by referenet'~ in the t`ollo\ving;
A. Breaeh oi` Contraet

14. (_`,entral l\/lutua| had a contract of instin.tnce with l-"laiutit`l`. (`e.utral Mutual breached
the terms of that contract by wrongfully denying and/or unt"lerpaying the claim and l’|aintit`|` was
damaged thereby
B. Prompt Payment of Claims Statute

l$. The failure of (_`entral Mtitual to pay for the losses and/or to follow the statutory
time guidelines |`or accepting or denying coverage constitutes a violation of Section 5-1’_‘_()5] cl
suq. ol` the 'I`e,xas lusuranee (`ode.

l(). Plaintiff. tlieri_rfore. iu addition to Plaintiff`s claim for damages._ is entitled to l$'}?~
interest and attorneys` fees as set forth in Sec|ion 542.(\()() ol` the /l"exas lusurance (`ot'|e.

C. Bad Fait'h/l)ecept'ive 'I`rade Practice.s‘ /\ct t“I)TP/\")

17. l_)el`endant is required to comply with L..`hapter S-H ofthe 'l`e.\as |nsurauce (_`ode.
lts’. l)e|`endaut violated Seetion 541.()51 of the Tc)\as |nsurance (_`odc bv:
tl) making statements misrepresenting thc terms and/or benefits of the policv.

l‘). Del`endant violated Section 54[.(}()()1)_\':
tit misrepresenting to Plaintit`t` a material t`aet or policy provision relating to

coverage at issue;

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ill

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rdi

failing to attempt in good faith to effectuate a prompl. fair. and equitable
settlement of a claim with respect to which the insurer`s liability had
become reasonably clear;

failing to promptly provide to l-’laintiff a reasonable explanation of the basis
in the policy. in relation to the facts or applicable law_ for the iu.surcr`s
denial of a claim or offer of a compromise settlement of a claim:

failing within a reast')nz_iblc time to affirm or deu_\ coverage of a claim to
Plaintiff or submit a reservation of rights to l’laintiff: and

refusing to pay the claim without conducting a reasonable investigation with

respect to the claim'.

20_ l)efendant vioiatcd Sec|ion 541_()(_)| by:

l | l making an untrue statement of material fact;

(2) failing to state a material fact necessary to make other statements made not
misleading considering the circumstances under which the statements were
made;

t3`) making a statement in a manner that would mislead a reasonably prudent
person to a false conclusit‘in of a material fact;

t4) making a material misstatement of la\v; and

(5) failing to disclose a matter required by law to be t'liselosed.

Zl, Al all material times hereto. l’|ainliff was a consumer who purchased insurance

products and services from f)efendant.

’)"5

___ Defendant has violated the Te,\a.s i_`)TP/\ in the following i'espeets:

 

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tl)

t_il

l.)et`endant represented that the agreement confers or involves rights.
remedies_ or obligations which it does not bave._ or invol\'e. or \\'hich are
prohibited by la\v'.

(_`entral lvlutual failed to disclose ii'tfornuttion concerning goods or services
which was known at the time ofthc transaction when such failure to disclose
such information was intended to induce tlte consumer into a transaction
that the consumer would not have entered into had the information been
disclt')sed;

(`entral Mutual. by accepting insurance premiums but refusing without a
reasonable basis to pay benefits due and owing. engaged in an
unconscionable action or course ol` action as prohibited b_v Section
l7.5l,)(altlt(3) of the [)"l"l’A in that (`entral Mutua| took advantage of
Plaintil`f`s lack of knowledge ability. experience and capacity to a grossly
unfair degree. that also rest.lltet'l in a gross disparityl between the
consideration paid in the trans;.tction and the value received. in violation of

Chapter 541 of the 'l`exas lnsurancc (..`ode.

23. Defendant knowingly committed the acts complained ofw A.s sueli. Plaintiff is

entitled to exemplary and/or treble damages pursuant to the l)'l`l’A and `l`e,\as lnsurance (_`ode

Section 541 . l52ta)-tbt.

Attorneys` Fee.s

24. Plaintil`l` engaged the unt_lersigne<_l attorney to prosecute this lawsuit against

Dcfendanl and agreed to pay reasonable attorneys" fees and expenses through trial and anv appeal

 

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25. Plaintiff is entitled to reasonable and necessary attorneys fees pursuant to 'l`e\as
(`ivil Practice and Rcmedies (`.ode Sections 33.(}()1<`18.(}03 because he is represented h_v an
attorney. presented the claim to lj.)efendanl. and l)efendant did not tender the just amount owed
before the expiration of the 3()"‘ day after the claim was presented

26. Plaintil`l` further prays that he be awarded all reasonable attorneys' fees incurred in
prosecuting his causes of action through trial and an_v' appeal pursuant to Sections 5-1|.152 and
542.(1()001`1|10 'l"exas lusurance (_`ode.

VII.
(,`()NI)I"I`IONS PRECEDEN'I`

27, All conditions precedent to Plaintiff`s right to recover have been fully performed
or have been waived by I')efendant.

VIII.
[)ISCOVERY REOUESTS

28. l’ursuant to Ru|e l‘)-l. you are requested to disclosc. within fifty t_‘if)) days after
service ofthis request. the inft'trmalion or material described in Rtt|e l‘)~l.§t al-tll.

2‘). You are also requested to respond to the attached interrogatories requests for
production. and requests for admissions within fifty t$()i days_ in accordance with the instrt.tt.‘tions
stated therein

lX.
PRAYER

WHEREF()RIE`,. PR]"`,|\/llSl?`,S (_'T()NSIDF.RF.D. (`|aude l'§cttc'l<c‘trsteiii prays that. upon final
hearing of the case` he recover all damages from and against l)cfendaut that may reasonably be
established by a preponderance ofthe evidence. and that Mr. Benel\enstein be awarded attorneys`

fees through trial and appeal. costs of eourti pre-juilgment interest. pt')st-jt_tdgnicnt intet'est. and

b

 

 

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such other and further reliel'. general or speeial. at law or in equity to which Mr. Bencl\'enstein

may show himself to be justly entitled

Respc.etl`trlly submitted

I).\r.\' & Bt.,.\t'r\'. I’.ti.

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Riehard l`). I)al§,l

'I`l-SA No. (>t}?‘)o~ll‘)
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Houston. 'l'e.\as 77098
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713.()55.|587 ~ l*`a,\

 

A'l"l`()RNEYS l"(,)R l’l,,AlN'l`lFl"
CI,AUDP`. BI",N(`KD`,NS'I`EIN

 

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PLAINTIFF'S FIRST SE'I" (_)F lN”l`ERR()(}/\T()RIES,
REOUESTS F()`R PR()DUC.TI()N A;\ID REOUESTS F()R AI,)r\/IISSIONS

(.`()MES N()W Plaintil`|` iu the above-styled and numbered cause. and requests that

Def'endant (l) answer the l`t')ll<')wing diseo\-"er_v' requests separater and l`uil~\v in writing under oath

within 30 days ol" service tor within 50 days o|` service i|` the discoversl w as served prior to the date

an answer is duc); ill produce responsive documents to the undersigru_‘d Counsel within the same

time period; and t$r serve its answers to these disco\-»'ery requests within the same time period to

Plaintii`i` by and through his attorneys ol` record. Daly ec Blaels. P.(_`. ZZl l Nor[`oll\ St. lSu`ne 8()0.

Houston. Texas 77()‘)8.

Respectl`ully submitted

l).'\lr\' & Bl,,\r`l\', P.(,.`.

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/.\'/ Jumv.s Wil/i.s
Richard D. Daly
TBA Nt). ()()7‘)()=\2()
LM‘LQ_`_\L_\BUH_<;L_-_s_<_.:_r_u
s_tr__l.`:.~.£<'j,s lld;b l ash aaa n
james Willis

TB.'\ Nr). 24088(\5~¥

lel Nort`oll\' St.. Suite 800
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713.()55.1587~.-»|*`;1>;

AT'I`()RNEYS F(,)R PLAINT`IFI"
(`I,AUI)R l$l",N(,"Kl‘lNS'I`I!IIN

 

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(.`ER'[I l"lL`A'l`l€ (.)l" SERV IC}",

l hereby certify lha| I sent a true and correct eopv of the attached discovers requests to
I)e|eri(lrrritts) as au attachment to the petition 'I`herel`ore. [)efendant \vou|d have received it \vheu
it was served with the citation_

/.\/ eru:.s' ll"r'/Li¢______ v

.lames Willis

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A.

INSTRU(."I`IONS

'fhese Re.sponses call for your personal and present knowledge. as well as the present
knowledge of your attorneys. investigators and other agents and for information
available to you and to them.

Pursuant to the applicable rules of civil proccdure. produce all documents responsive
to these Request.s for Production as they are kept in the usual course of business or
organized and labeled to correspond to the categories in the requests within the time
period set forth above at l_)aly & Blaek'. P.L`.

l|` you claim that any document or information which is required to be identified or
produced by you in any response is privileged. produce a privilege log aeeordiu'_T to the
applicable rules of civil procedure

ldentify the documeut’s title and general subject mattcr;

Statc its date;

ldentify all persons who participated in its preparation;

ldentify the persons for whom it was prepared or to whom it was scnt;

State the nature of the privilege claimcd; and

Statc in detail each and every fact upon which you base your claim for privilege

:>:»r»z'#!~>r-

lf you claim that any part or portion of a document contains privileged iuformation.
redact only the partts) or portion(s} of the doci,ii'nent you claim to be privilegr:r],

lf you cannot answer a particular lnte,rrogatory in full after exercising due diligence to
secure the iuf<')rutation to do so. please state so and answer to the extent possible`
specifying and explaining your inability to answer the remainder and stating wh.'uever
information or knowledge you have concerning the unanswered portion.

You are also advised that you are under a duty to seasrj)nr.ihly amend your responses if
you obtain information on the basis of which:

l, You know the response made was incorrect or incomplete when madc: or
You know the response. though correct and complete when made. is no longer true
and cornplete.. and the circumstances

l<.)

 

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B.

D.

G.

ll.

DEFINITI()NS

“I)el'endant." “You." "Yourts)." refers to (`entral M_utual Insurance (`ompany. its
auent.s. representatives employees and any other entity or person acting on its behalfl

"Plaintil`f" refers to the named Plaintiff in the abovcvc"aptioncd suit

“'The I’roperty(ie.s)" refers to the property or properties located at the address(es)
covered by the Policy.

“The Policy" refers to the policy issued to l’laintiff by the insurer and ar issue in this
lawsuit_

“The (_`laimtsi" means the claim for insurance benefits submitted by Plaintif|` and at
issue in this lawsuit. or in a prior claim. as the contest may dictate.

“Dafc of LOSS" refers to thc datct_s) of loss identified in Plaintif["_s live
petition/complaint or other written or oral notice. or t')thcrwisc assigned to the claim by
the insurer.

"Handle" or “Handled" means investigating adjusting super\-'ising. estimating
managing settling_ approving supplying infornuuit')n or otherwise perfr_)rming a task
or work with respect to the claim(s‘i at issue in this lawsuit. cscltu'lingpurc|y ministerial
orclerical tasks.

“Lawsuit" refers to the above styled and captioned case.

`“Communication" or "conimullicati¢)ns"° shall mean and refer to thc transmission or
exchange of information. either orally or in writing_ and includes without limitation
any conversation. letter_ handwritten notes. menu)randum_ inter or intraoffice
correspondence electronic mail. text mcssages. or any other electronic transmission
telephone call. telegraph telex telecop_v_ t`acsimile. cable. conference tape recording
video recor<‘ling. digitai recording t’liscussionn or |`acc~to--face communication.

'l`he term "Document" shall mean all tangible things and data. however stored. as set
forth in the applicable rules of civil proect'lurc. including but not limited to all original
writings of any nature whatsoever. all prior drafts. all identical copies. all nonidentical
copies. correspondence. notes. letters. memoranda of. telephone conversations.
telephone messages or call slips. interoffice memoranda. intraol`fice memoranda client
conference reports. |`iles. agreements. contracts. cvaluations. analyses. records
photographs sketches. slides. tape recordings microfichc. cotnmunications. printouts.
reports. invoiccs. receipts. vouchers. profit and loss statements. accounting ledgers.
loan documents. liens. books of accounting books of operation. bank staternents.
cancelled checks. lcases. bills of sale. maps. prints. insurance policies. appraisals.
listing agreements_ real estate closing tlocumcnts. studies. summaries. minutcs. notes.
agendas. bulletins. schedules. diarics. calendars. logs_ announcements. instructions.

 

 

 

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cltarts. manuals. brochures. schedules price lists. lelegrams. telct_vpe.s. photographic
matter. sound reproductions. liowc\.er recordet.l. whether still on tape or transcribed to
writing ct'nnputer tapes. disl\'ette.s. disl\'s. all other methods or means o|` storing data.
and any other documentsl ln all cases where originals. prior dral'ts. identical copies. or
nonidentical copies are not available; "document" also means genuine true and correct
photo or other copies o|` originals. prior di'al`ts. identical copies. or nonidentical copics.
"l_)ocumeni" also ret`er.s' to any other material_ including without limitation. any tape,_
computer program or electronic data storage l`acilityl in or on which an)l data or
information has been written or printed or has been tempij)rarily or pernu.inent|yl
rect')rded by mech;-mical. phi)toi`._'_raphich magnetic electronic or other means. and
including any materials in or on which data or inl`oruunion has been recorded in a
manner which renders in unintelligible witi'u')ut machine proct_‘ssing

The term “refcrring" or “relating" shall mean showing disclosing a\'crting to.
comprising evidencing ec')n.stituting or reviewing

'T`he singular and masculine l`orm o|` any noun or pronoi_in includes the p|ura|. the
t`etninine. and the neuter.

'Q by

The terms "identii`ication. ldentil'y." and “identit_\-"` when used in rcl`ercnce to: t
Natural l’ersons: Means to state his or her t`ull name residential address present or
last known business address and telephone number. and present or last known position
and business al`l`iliation with yong

Corporate Entities: Means to state its l`ul| name and any other names under which it
does business. its form or oi'gani/.ation. its state ol' incorporation its present or last
known address. and the identity ol` the ol`t`icer.s or other persons who own operatel or
control the entity;

Doculnellts: Means you must state the number of pages and nature ol` the document
tc.g. letter or menu)rant,lum). its tit|e. its dale. the name or names ol` its authors and
recipients its present location and custodian. and it` any such document was. but no
longer is, in your possession or control. state what disp<')sition was made ot" it. the date
thereoi`, and the persons responsible [`or making the decision as to such disposition;
Communicatiou: Require.s you. it` any part ot` the communicatit')n was written. to
identity the document or documents which rcl`er to or evidence the communication and.
to the extent that the communication was non¢written. to identity each person
participating in the cominunication and to state thc datc. manner. place. and substance
ol` the comiminieation; and

Activity: Rci|uircs _\"ou to provide a description ot each action. occurrence. transaction
or conduct. the date it occ.urre<’l. the location at which it occurred and thc identity ol` all
persons involvei'l. -

The term "Clain\ "ile" means the claim t`iles and "|`ield t"ileist," whether l\ept in paper
or electi'rmie l`ormat. including but not limited to all cl<')cumcnts. i`ilejacl<cts. l`ilc notes.
claims diary or journal entries. log notes. hand\\'ritten notes_ records ot` oral
comiuunications. comn'iunicatii)ns. et)rrespomlence_ pl'iotograp!is. diagrams. estimatcs.

 

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reports'. rccommcndation\ in\'oices_ memoranda and dra|`ts o|` documents regarding the
(`|aim_

(). 'l`|ie tertii "Underwriting l"ile" means the entire l`ilc. including all documents and

inl`<')rmalion used lor underwriting purposes even i|` v\ou did not rely on such documents
or in|`orm.'ttion in order to mal\c. a decision regarding insuring l’|aintil`l`s Propc.rt_v

N()Tl(`l*`. ()F All'l`HEl\"l`lCATl()N
You are advised that pursuant to 'l`cx. R. (`iv. l". l‘).'t.7. l’laintit`t` intends to use all

documents exchanged and produced between thc parties. including but not limited to
correspondence and disctwer_\‘ responses during the trial ot` the above-entitled and numbered causc.

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INTERR()(`}AT()RIES TO I)EFENDANT CEN'I`RAL l\ll.i'l`lli\[,

INTERR()GATORY N(). l:

ldentil`y all persons answering or supplying an_v int`ornuition in answering these interrogt.itories.
ANSWER:

INTERR()GATORY N(). Z:
ldentify all persons who were involved in evaluatin;e_1 l"laintil`l"s claim and provit'le the t`ollowine
lnli'irmation t`or each person you identit`yz

a. their name and job lit|ctsl as ot` the l)atc ot` l....i.iss';

b. their employee and

c. description ol`their involvement with Plainlil`l"s (_`Iaim.
ANSWER:

IN'[`ERR()GAT()RY N(). 3:
ll` you contend that the some or alt ol` the damages to the Propertyl were not covered losses under
the Policy._ describe:

a. the scopc. cause and origin o[`tbc damages you contend arc not covered losses under
the Policy; and
b. the t'crmtsl or esclusionts) ol` the Po|ic_\_- you relied upon in support ot` your decision

regarding the (`laimA
ANSWER:

INTF.RR()(}AT()RY N(). 42
State whether the initial estimate you issued was revised or rcconcilei'l. and il` so. state what was
changed and who did it.

ANSWER:

INTERR()GATORY N(). 5:

ll' you Contend that Plaintil`|` did not provide you with requested iitl`<'irtnation that was required to
properly evaluate Plaintill"s C`laim. identity the information that was requested and not provided.
and the dates you made those request€s).

ANSWER:

INTERR()GATORY NO. ():
Il` you contend that Plainti|`|"s acts or omissions voided nu|]il`ied. waived or breached the Policy
in any wayr stale the l`actual basis l`or your contentii'ints).

ANSWER:

 

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INTERROGA'I`()RY N(). 7:
ll` you contend that Plaintil`t` l`ailed to .satist`y a condition precedent orco\'enant o|`the l’o|ic)v in any
way. stale the |`aetua| basis |`or your contentionts)_

Al\'SWER:

INTERR()GATORY N(). 8:

ldentil`y the date you t`irsl anticipated litigation
ANSWF.R:

INTERR()(,`AT()RY l\"(). ‘):

Statc the factual basis l`or each ol` your a[`lirmati\e dc|i.‘nscs,
ANSWER:
INTERR()(}ATORY N(). ll):
Il` you contend that Plaintil`|` I`aiied to provide proper notice ol` the claim made the basis ot` this
lawsuit. describe ho\\ the notice was det`icient. and identity any resulting prejudice
Al\'SWER:
lN'l`ERRUGA'l`ORY NO. ll:
ll` you contend that Plaintif`l` |`ai|ed to mitigate damages. describe how l’laintil`|` failed to do so. and
identityl any resulting prejudice
ANSWER:

INTERR()(_}AT()RY NO. 12:
ldentil`y all items on the claim made the basis ol` this lawsuit to which l)e|`ent'lant applied
depreciation. stating for each item t|:c criteria used and the age o|` the item.

ANSWER:

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REOUEST FOR PR()DUC'I`|ON T() l`)F.FENDANT CF.N'I"RAL ;\'IU'l`UAl.
RE§!UEST F()R PR()DUCTI()N N(). l

Produce a certified copy oE` all Policies you issued to Plainti|`|` l`or the Propt'_‘rt_\_' that were in ct`l`cct
on the Date o|` l.oss.

RESP()NSE:

REOUEST FOR PRODUCTION E\'O 2

ll you contend that any prior claims P|1"1i111i|l submitted for damages to the l’roperty altetttd \oru
decision in relation to the ( laini at issue p:oduce a certified copy ot all policies yorr issued to
Plaintill lot the Propeuy that were in ettect during7 the handlingol those c lairn(sl

RESPONSE:

REOUEST FOR PR()I)U(`TI()N NO 3
Produce a copy ot the declarations pages you issued for the Propert_\ in the three 1l1 years
preceding the l)ate ot l oss

RESPONSE:

REOUEST F()R PRODUC'I`ION N(). -l

l)roduce your complete Unt'lcrwriting l"ile t`or P|aintil`t"s policy ol` insurance with vorr.
RESP()NSE:

REOUEST F()R PR()I)UCTI()N N().s "
Produce the complete (..` lairn life including all documents and cor111nunications regarding the
( laim.

RESP()NSE:
REOUEST FOR PR()I)U('TT'I(_)N N(,). 6
Produce the (,`laim hiles regarding the (,`laim o|` any third-party you hired and/or retained to

investigate consult on_ handle and/or adjust the (Tlairn.

RESPONSI€:

 

 

 

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REOUEST F()R PRODUCTION N(). 7

ll` you contend that any prior claims Plaintil`l` submitted l`or' damages to the Propert y al`l`ected your
decision in relation to the (`laini at issue.. produce the complete (:`lairn hile regarding those prior
claimtsl.

RESP()NSE:

REOUEST I"OR PR(,)I)UL"I`I()N l\'(). 8
Produce all documents Plaintit`t` tor any other personl provided to you related to the (`laim or the
Prope.rt y.

RESP()NSE:

REOUEST F()R PR()I)UCTION N(). 9
Produc.e all documents you provided to Plaintit`t` tor any other pcrson] relate<’l to the (.`laim or the
Property.

RESP()NS'E:
REOUEST F()R PR()I)UCTI()N N(). 10
Produce all documents tincluding reports. snrve.ys. appraisa|.s. damage estimates. proot'o|` |oss` or
ad_iuster"s report(s)) referring to the C|;iirii. the Propert y or damage to the l-‘roperty.

RESP()NSF.:

REOUEST FOR PR()I)UC'I`]()N N(). ll

Produee color copies ol` all visual reproductions ol` the Propcrt_v taken either prior to1 at the time
ol`. or alter the Date ol' Loss t',includingl diagrams. drawings photographs video records.
\»'ideotapes. or other in formation ).

RESPONSE:

REOUEST FOR PR()I)UCT!()N NO. 12
'l`he |`ile |`rom the ol`t`iec ol` l~’|aintil`t`s insurance agent concerning Plaintill's l’roperty.

RESP()NSE:

l(l

 

 

 

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REOL`EST FOR PR()DL’CTI()N N(). 13

Produce all communications between an_\ o|` your claims personnel claims handlcrs_ field
adjusters. office adjusters. and their direct or indirect supervisors related to the iovcstig;_ilion.
handling. and settlement ol` l~’laintifl"s (,`laim.

RESPONSE:

REOUEST F()R PR()I)U(.`T]()N l\'(). 14

l"roducc all written communications you sent to. or received l`rom. any independent adjusters.
engineers contractors. cstimator_s_ consultants or other third-parties who participated in
investigating handling consulting on. and/or adjusting Plainti|`l`s (`laim.

RESP()NS|£:

REOL'EST FOR l’R()I)L`(,"l`l()N l\'(). 15
Producc all \\’rittcn and/or electronic communic'.ttions _\ou sent to. or received from. l’lainti|`l"s
insurance agent related to the (,`|aiin. the l’ropcrty. thc l~’|ainti|`|`or this l.;i\\-siiit.

RESP()NSI",:

REOL'EST F()R PROD{_§CTIUN {\'(). l(»
Producc all written and/or electronic commonication_s you .scnt to. or received from. any localA
statc. or governmental entity related to thc (_`laiin. the I’i~t)r)t‘.t'tv. the l’|ainttt|` or this l.awsuit.

RESP()NSF.:

REOUEST F()R PRODUCT]()N N(). 17
Produce all written and/or electronic commonications you sent to. or received from l)lain|iff
and/or any other named insured on thc Po|ic_\ related to thc (_`laim. the l"ropert_\~. or this I,a\vsuit.

RESP(_)NSE:

REOUF.ST F()R PRODUCTI()N NO. 18

l’roducc the personnel l`ilc for anyone you tor an adjusting firmt assigned to participate in
evaluating damage to P|ainliff`s I’ropcrt_\. including performance rc\'ic\\'s/e\'aluation_s. `|`his
request is limited to the three t3) years prior to the l)ate of l,o_ss and one t l t year after thc |)atc of
I,o.s.s.

RESP()NSE:

 

RF.OUEST F()R PR()I)UCTI()N NO. l‘)

Produce your claim handling manual(s} (including operating guidelinest in effect on the I)atc of
Los.s related to your claims practicc.s. procedures and standards l`or property losses and/or fire
claims. for persons handling claims on your heha|t`.

RESP()NSE:

 

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RE(_)UEST I"OR PR()DUCTI()N N(). 20
Produee your propeny claims training manual and materials in el`l`eel oti the l_)ate i)l` l.o.ss_ l`or
persons handling investigating and adjusting elaini_s.

RESP()NS l".:

RE(_)UEST FOR PR()DUCTI()N N(). 2|

Producc all bulletins. noticcs. directives. menu)randa. internal newsletters. puhlication.s. letters and
alerts directed to all persons acting on your hehall' that were issued l`ront six tot monthsl he.t`ore and
al`ter the Date ol` l.,oss related to thc handling o|` |`ire claims in connection with the |`ire at issue.

RESP()NSE:

RE(_)UEST F()R PR()I)UC'I`I()N N(). 22

Producc the contractts). agreement(st and/or written understant:|in_at.st with any independent
adjusters or adjusting firms who you retained to investigate handle and/or adjust i»"|ainti|`f"`.s (`laim
on your behal|`tliat were in el`f`eet on the [')ate of` l.ossz

RESP()NSE:

REOUEST I"()R PR()I)UC'I`I()N N(). 23

Producc the contraet(s). agreement(.s') and/or written understandingtsl with any engineers and/or
engineering |`irm.s you retained to investigate handle and/or adjust |’|aintil`|".s (`laim on your behalf
that were in el`t`ect at the lime ol` his/her investigation hant'|lini'_' and/or adjustment ol` Plainlil`l"s
Cfaim` either pre or post-la\w'suit.

RESPONSE:

REOUEST F()R PROI)UCTI()N NO. 24
Produce the "i"ay sheet." "Payment l_.og." or list ol`])aymcnts made on l’lainti|`l".s (_`laini. includinu
all indetnnity. claim expenses and payments made to third-parties

RESP()NSF.:

REOUEST F()R PR()I)UC'I`I()N l\i(). 25

Produce all billing statement.s. including hillin;_T dctail. .sht')\)t-'ink't_l the amounts you paid or |`or which
you Were billed by any indepen<’len| adjusters or adjustng l`irms who inspected l”laintil`|"s Pl'oper|y
in connection with the (f`laiin.

RESP()NSE:

REOUES'I` FOR PROI)UC'|`I()N N(). 26

 

 

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Pioduce all billion detail showing the amounts _sou paid o1 lot which \ou were billed b\ an_\
engineer and/or eneineerin<' liitn who inspected Plaintill s l’ropeit_\ in tonnttlion with thc_( l nm_
whether pie ol post- lansuit.

RESP()NSE:

REOl'EST F()R PR()D['CTI()N l\'(). 27
l’roducc all estimates iepoits or memoranda including dra|ts ot the same. created loi _\ou oi by
any independent adiusteis or adjusting tirnis 111 c':‘onntttion with the (` laim

RESP()NSE:

REQUEST F()R PR()l)li(."l`I()N N(). 2_8
l’roduee lall estimates. rcport.s_ or memoranda including drafts o|` the same. created for you |1\»l an v
engineers and/or engineering firms in connection \\»ith the (`laim.

RESP(_)NS[€:

REUUEST F()R l’R()[)li("i`l()N N(). _2_9
Pioduce all statements given hs anyone oial ot \\-".1iltcn lo \ou ot m\ o| _\o111 agents ielatoil m
P|aintitt s (_` laim and/oi an\ issue in Plainti|t" s li\e petition

RESI'()NSI€:

REOL'ES'I` I"OR PRODL'CTI()N l\`(). 30
Pursuant to the applicable rates ol` evidence produce all documents evidencing conviction ot` a
crime which you intend to usc as evidence to impeach any party or nitncss.

RESP()NSE:

REOL`EST FOR PR()I)L'CTION NO. 3|
Produee all documents you identified referred to. or relied upon in answering I’laintifl"s
interrogati')ries'.

REOUEST F()R PR()I)U(TTI( )N N(). 2
Produce all nr)n-pri\'i|egctil documents you identified referred to_ or relied upon in de\'clop`ma.
answering and/or formulating your Ans\\'cr and/or /\|`firmati\'e l)cl`cn,scs to l’laintil`l"s live pctition.

RF.SP()NSE:

REOUEST l"()R PROI)UC'I`I()N l\'(). 33

Produce copies ol`all documents you intend to ot`|`cr as evidence at the trial ot` this matter

RESPONSE:

 

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REOUEST F()R PR()DL'CTI()N l\`O. 34
Pl'oduce copies of all documents relating lo your declaration o|` the fire alle_ecd to have caused
damage to Plaintifl`sl I»’ropert_v as a "c:ttastrophc."

RESP()NSF.:

REOUEST P`()R PROI)[,YCTI()N l\'O. 35
Producc copies of your engagement letter/fcc agreement between _vou tor w hate\cr cntit_v or
person is paying _vour attorney's fcc bil|s) and _vour attorneys in this matter

RESP()NSE:

RE()UES'I` F()R PR(.)I)UCTI()N NO. 36

Produce copies o|` _vour atlorne}"sls'l |`ee bills in this mattcr.
RESP()NSE:

REOL'EST FOR I’RU|)L'CTION NO. 37
lf this claim involves reinsurance produce copies o|` the policy1)1‘;1gi`t‘c111trtit pertaining to that
reinsurance

RESI’()NSE:
REQL'EST F()R PR()I)['CTI()N N(). 38

|f an attorney was involved in evaluating pa_vmcnt or coverage of l’lainti|`|`s (`laim pre-suit.
provide all documents reiatin;ey to that cvahiation or recommcndation.

RESP(,)NSE:

 

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REOUEST F()R A{)MlSSl()NS 'l`() I)EFENDAN'I` CEN'|`RAL Ml`-TIFAI.

RE()UEST F()R AI)MISSI()N N(). l:

Admit that on Date ot`l,oss the l‘ropert) sustained damages caused b\ a I`ire.
RESI’ONSE:

REOL'EST FOR ADMISSION N(). 2:

Adlnit that as ol`the l)ate ol` l,t)ss the l’olicy was in |`ul] |`oree and g[‘t`e_e|,
RESPONSE:

REOL`EST I"()R ADMISSION l\`(). 3:
/\dmit that as of the l_')ate ot` l-os.s all premiums were |`u|ly satisfied under the l’o|ic_\'.

RES|’()NSE:

REOUEST FOR Al)MISSION N(). 4:

Admit that the |’olicy is a replacement cost value policy
RESPONSE:

REOUES'I` I*`()R Al)MlSSlON N(.). 5:

Admit that the Policy is an actual cash value policy
RESP()NSE:

REOUEST F()R ADMISSION N(). 6:
Admit that aside |`t'om the (.`laim at issue. Plainti|`t` has never pre\ iousl_\ submitted a claim to you
|`ot' damage to the l’ropert_\'.

RESP()NSF.:

REOUEST F()R AI)MlSSION N(.). 7:
Admit that you did not request a Sworn Proot` ol` l.oss l`ront l’|aintil`l in connection with the
(`|aim at isstte.

RESP()NSE:

RF.OL'EST FOR AI)MISSI()N NO. 8:
Admit that you did not request a S\vorn Proot` ol` l,o_ss t`rom an_\- other named insured on tlte
Policy in connection with the Claim at issue.

RESP()NSE:

 

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REOUEST F()R ADMISSI()!\` l\'(). ‘):
Adniit that Plainti|`t`time|_v submitted the (,`|aim.

RESI’ONSE:
REOL`EST FOR Al)l\lISSl()N N(). I():
/\dmit that your decision to dcn_s or partially deny Plaintil`l"s (`laim was made in whole or iii part
on the basis that third parties were responsible i'or causing damages to the |’ropert\.

RESP()NSF.:

RE()UEST FOR ADMISSION N(). ll:
Admit that Dcl`endant`s decision to deny or partially deny Plaintill"s' (f`laim was made in whole
or in part on the basis that the claimed damages are not covered by tlie l’olicv.

RESP()NSE:

RF. UEST FOR AI)MISSION N(). IZ:

 

Admit that Del`endant`s' decision to deny or |dartiall}' dett_\` l’laintil`|"s (`laim was made iii whole
or in part on the timeliness o|` thc (_`laim`s submission

RESP(_)NSI€:

RE(_)L'F.ST F()R ADMISSI()N NO. 13:
Admit that you depreciated thc costs ol` labor when determining the actual cash \altie o|` the
(`laim at issue

RESPONSE:
REOLYEST F()R ADMISSl()N i\'(). 142
Admit that thc adjuster assigned to investigate the (`la`uu did not review the underwriting I`ilc at

any time during the at’l_ittstment ol` the (`laim.

RESP()NSI£:

RE L'EST FOR AI)MISSI()N N(). 15:

 

Admit that the ("laim was reviewed by persons other than people who actually inspected the
Pt'opert y.

RESPONSI€:

REOL'EST FOR ADMISSI()N N(_). lt‘):
/\dt'nit that you t'c,ins'ttrct'l the risk under Plainti|`|"s Polic_v.

RESP()NSE:

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CAUSE NO, 201757009

 

RECEIPT NO. 75.00 CTM
i*i******* TR # 73409313
PLAINTIFF: BENCKENSTEIN, CLAUDE ln Thc 157th
vs. Judicial District Court
DEFENDANT: CENTRAL MUTUAL INSURANCE COMPANY of Harris County, Texas

l57TH DISTRICT COURT
Houston, TX

 

CTTATION (CERTIFTED)
THE STATE OF TEXAS
County of Harris

TO: CENTRAL MUTUAL INSURANCE COMPANY BY SERVING THROUGH ITS
REGISTERED AGENT CORPORATE CREATIONS NETWORK INC

2425 WEST LOOP S STE 200 HOUSTON TX 77027 - 4208

Atnached is a copy cf giarurir§{s oRIGINAL PETLLION FIRST ser or rur§ggogAro§rns REQUEsTs
ron PRODUCTION AND REQUESTS ron ADMIssIoNs

This instrument was filed on the 25th da of Au ust 2017, in the above cited cause number
and court, The instrument attached describes the claim against you.

YOU HAVE BEEN SUED, You may employ an attorney. ff you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may he taken against you.

TO OFFICER SERVING:

This citation was issued on 25th day of August, 2017, under my hand and
seal of said Court.

C£¢~:,@~,e

CHRIS DANIEL, DiStriCt Clerk

Harris County, Texas

201 Caroline, Houston, Tcxas 77002
(P,O. Box 4651, Houston, Texas 77210)

Issued at request of:
WILLIS, JAMES WINSTON
2211 NORFOLK ST
HOUSTON, TX 77098
Tel: (713) 655-1405
Bar NO_; 2403@654 Generated By: CUERO, NELSON 7MM//10763174

 

 

ChERK‘S RETURN BY MATLTNG

 

Came to hand the day of _Hm_, m__m_J and executed by
mailing to Defendant certified mail, return receipt requested, restricted delivery, a true
copy of this citation together with an attached copy of

PLAINTIFF'S ORIGINAL PETITION FlRST SET OF lNTERROGAToRIES REQUHSTS
to the following addressee at address:

 

§Bp§s§§"mmmi

Service was executed in accordance with Rule 106

 

(a)ADDRESSEE (2) TRCP, upon the Defendant as evidenced by the
return receipt incorporated herein and attached
hereto at

 

 

 

This Citation was not execuroa for the following
reason:

 

CHRTS DANIEL, District C]crk
Harris County, TEXAS

BY Wm , Deputy

N.lt\"l'.CITM.l’ *73409313*

